Case 1:23-cv-00108-LMB-JFA Document 1192-23 Filed 08/22/24 Page 1 of 5 PageID# 87806




              Plaintiffs’ Exhibit 25
Case 1:23-cv-00108-LMB-JFA Document 1192-23 Filed 08/22/24 Page 2 of 5 PageID# 87807
Case 1:23-cv-00108-LMB-JFA Document 1192-23 Filed 08/22/24 Page 3 of 5 PageID# 87808
Case 1:23-cv-00108-LMB-JFA Document 1192-23 Filed 08/22/24 Page 4 of 5 PageID# 87809
Case 1:23-cv-00108-LMB-JFA Document 1192-23 Filed 08/22/24 Page 5 of 5 PageID# 87810
